                                                Case 17-64941-sms                         Doc 38   Filed 07/31/18 Entered 07/31/18 20:09:47                                       Desc
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                                                                                                                                                                                                               Page: 1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:      17-64941-SMS                                                                                                                     Trustee Name:        (300320) S. Gregory Hays
Case Name:       BURGESS, ROGER CARROLL                                                                                                         Date Filed (f) or Converted (c): 08/28/2017 (f)
                                                                                                                                                § 341(a) Meeting Date:       09/28/2017
For Period Ending:         06/30/2018                                                                                                           Claims Bar Date:

                                                     1                                                  2                              3                            4                      5                          6

                                             Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                         and Other Costs)                                                             Remaining Assets

    1        2017 DODGE JOURNEY, 4500 miles                                                                  23,718.00                               0.00                                              0.00                        FA

    2        WASHER/DRYER SET,FREZZER.RIFRIDGEATOR,LIENS,KITCHENWARES                                         1,500.00                               0.00                                              0.00                        FA

    3        32"TV,HOME CPU AND PRINTER,l-PHONE6,STERO,SPEAKERS                                               1,000.00                               0.00                                              0.00                        FA

    4        TOOLS AND STORAGE CHEST                                                                             500.00                              0.00                                              0.00                        FA

    5        EVERYDAY CLOTHES AND SHOES                                                                          800.00                              0.00                                              0.00                        FA

    6        WATCH                                                                                                45.00                              0.00                                              0.00                        FA

    7        INSULIN PUMP                                                                                     3,000.00                               0.00                                              0.00                        FA

    8        Deposits of money: Checking account                                                                   0.00                              0.00                                              0.00                        FA
             Asset imported in error.

    9        401 (k) or similar plan: GWINNETTE PUBLIC SCHOOL SYSTEM                                               3.00                              0.00                                              0.00                        FA

    10       Cash                                                                                                 40.00                              0.00                                              0.00                        FA

   10        Assets               Totals       (Excluding unknown values)                                   $30,606.00                             $0.00                                           $0.00                      $0.00



         Major Activities Affecting Case Closing:
                                        Case dismissed in error and reopened prior to first 341 meeting. The 341 meeting held in November 2017 was not concluded on the docket until
                                        7/31/18. This is a no-asset case. The NDR filed on 7/2/18.

         Initial Projected Date Of Final Report (TFR):                       07/02/2018                                    Current Projected Date Of Final Report (TFR):                       07/02/2018


              07/31/2018                                                                                                     /s/S. Gregory Hays

                    Date                                                                                                     S. Gregory Hays
